Case 0:03-cr-60230-DTKH Document 2 Entered on FLSD Docket 09/30/2003 Page 1 of 1

AO 442 (Rev. 5/93) Warrant | for Arrest _

—-Writen States District @ourt

SOUTHERN FLORIDA
See - DISTRICT OF —----=—-~-~-—--- = = =

UNITED STATES OF AMERICA

 

WARRANT FOR ARREST

eanav Et HADDAD 03-60236.

CASE NUMBER:

To: The United States Marshal CR ° H URL EY

and any Authorized United States Officer
MAGISTRATE JUDG
VITUNAC

YOU ARE HEREBY COMMANDED to arrest. -  . _... . . RABAHELHADDAD

   

 

Name
and bring him or her forthwith to the nearest magistrate judge to answer a(n)
4
'.| Indictment | | Information | | Complaint | | Orderofcourt | | Violation Notice | — Probation Vicia Ps Petition
m2: nN
_ OO
charging him or her with (brief description of offense) * 2
Failure to appear for trial te ——,
he
= ,
o
in violation of Title «18 ~~=———__— United States Code, Section(s)  3746(2)1)——— a
ClarenceAfaddox ; Court Administrator / | Clerk of the Court
N Title of issuing Officer . : EE
Signatute of Issuing Officer ~ DateandLocation = ©» © SPY

eae |

Bail fixed at $ Pre-trial | Detention —

 

  

This warrant was received and executed with the arrest of the above-named defendant at

IDATE RECEIVED — [NAME AND TITLE OF ARRESTING OFFICER —_—«| SIGNATURE OF ARRESTING OFFICER

|DATE OF ARREST

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